            Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 1 of 48




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 JARRETT PAYNE; ANDIE MALI; CAMILA
 GINI; VIDAL GUZMAN; VIVIAN
 MATTHEW KING-YARDE; CHARLIE
 MONLOUIS-ANDERLE; JAIME FRIED;
 MICAELA MARTINEZ; JULIAN PHILLIPS;
 NICHOLAS MULDER; and COLLEEN
 MCCORMACK-MAITLAND,

                       Plaintiffs,

        v.                                                              1:20-cv-08924

 MAYOR BILL DE BLASIO; POLICE                              COMPLAINT AND DEMAND FOR
 COMMISSIONER DERMOT SHEA; CHIEF                                  JURY TRIAL
 OF DEPARTMENT TERENCE MONAHAN;
 CITY OF NEW YORK; NYPD OFFICERS
 JOHN DOE 1-32; NYPD OFFICERS JANE
 DOE 1-2; NYPD OFFICER DOE RIVERA;
 NYPD OFFICER DOE HUSBAND; NYPD
 SERGEANT DOE MANNING; and NYPD
 SERGEANT DOE CARABALLO,

                       Defendants.



                               PRELIMINARY STATEMENT

       1.      This civil rights action challenges the City of New York’s brutal response to large-

scale protests against police violence in May and June of 2020. On May 25, 2020, Minneapolis

police officers murdered George Floyd, an unarmed Black man. The killing, which was captured

on camera, sparked protests across the country by people outraged by the callous and repeated

murders of unarmed Black people by police. In New York City, protesters took to the streets and

sidewalks in large numbers, focusing on a long history of racial violence and harassment by the

New York Police Department. Protesters repeatedly were met with the very pattern of police

violence they marched to end. The Mayor of New York and the NYPD’s leadership condoned and


                                                1
            Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 2 of 48




even promoted that violence.

       2.      Over and again, at protests throughout the City in May and June, NYPD officers

descended on protesters with unjustifiable fist and baton strikes, chemical pepper spray attacks,

and other acts of physical violence. At numerous protests, officers encircled groups of protesters

to prevent them from escaping such violence using a tactic repeatedly endorsed by NYPD

leadership called “kettling.” Protesters who were arrested were placed in excessively tight plastic

handcuffs commonly referred to as “flex-cuffs” or “zip ties,” which caused pain, bruising and, in

some cases, led to long-term injury. Almost none of the officers involved in the attacks or

subsequent arrests wore masks, exposing the protesters to the deadly coronavirus. At the end of

the onslaughts, protesters were left with bloody head wounds, concussions, broken bones, and

emotional trauma.

      3.       These attacks were directed by NYPD supervising officers, including officers at the

highest ranks of police leadership. They were unprovoked and legally unjustified. And, they were

undertaken in retaliation for the protesters’ message — calling for greater police accountability, a

reallocation of funding from away from police departments and into Black and Latinx

communities, the end of police brutality, and a recognition that Black Lives Matter.

      4.       Prior to directing officers to police these protests, Mayor Bill de Blasio, NYPD

Commissioner Dermot Shea, and Chief of Department Terence Monahan failed to take steps to

prevent police from using excessive force against non-violent protesters, including failing to

adequately train or supervise police to avoid excessive force. As the protests continued and well-

documented, indisputable patterns of unlawful use of force emerged, the Mayor, the

Commissioner, and Chief Monahan deliberately did not take steps to prevent police from using

those tactics again and again. Instead, they repeatedly praised the actions of the NYPD, promoting,




                                                 2
             Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 3 of 48




authorizing, sanctioning and encouraging further violence, including several of the specific tactics

of violence and excessive force experienced by Plaintiffs and other protesters.

        5.      The eleven individual plaintiffs in this action are victims of this violence spanning

nine protests during one month in Manhattan, the Bronx, and Brooklyn. These individuals suffered

egregious abuses, including police officers breaking the arm of Plaintiff Charlie Monlouis-

Anderle, pepper spraying Plaintiff Vidal Guzman directly in the face as he engaged in a moment

of contemplation, and handcuffing Plaintiff Micaela Martinez so tightly that her hands became

numb.

        6.      Many of the protesters — including Plaintiffs Andie Mali, Camila Gini, Vivian

Matthew King-Yarde, Jarrett Payne, Charlie Monlouis-Anderle, Jaime Fried, Micaela Martinez,

and Julian Phillips — were arrested for engaging in peaceful protesting. The NYPD held them for

long periods of time without adequate food and water and in cramped, filthy, and unsanitary

conditions that further endangered their health. In some instances, the NYPD prolonged their

detention on account of their race.

        7.      The Defendants’ actions violate the First and Fourth Amendments of the United

States Constitution and their counterpart provisions of the New York Constitution. The Plaintiffs

seek a declaration that the City’s violent response to the protests was unlawful as well as damages

for injuries stemming from the violations of the Plaintiffs’ rights.

                                             PARTIES

        8.      Plaintiff Jarrett Payne (he/him) is a Black resident of Queens, New York who was

falsely arrested and subjected to excessive force on June 2, 2020 in New York, New York.

        9.      Plaintiff Andie Mali (he/him) is a Black resident of Brooklyn, New York who was

falsely arrested and subjected to excessive force on May 30, 2020 in Brooklyn, New York.




                                                  3
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 4 of 48




       10.    Plaintiff Camila Gini (she/her) is a Hispanic resident of Brooklyn, New York who

was falsely arrested and subjected to excessive force on May 30, 2020 in Brooklyn, New York.

       11.    Plaintiff Vidal Guzman (he/him) is a Latinx resident of Harlem, New York who

was subjected to excessive force on May 30, 2020 in New York, New York.

       12.    Plaintiff Vivian Matthew King-Yarde (he/him) is a Black resident of Brooklyn,

New York who was falsely arrested and subjected to excessive force on May 31, 2020 in New

York, New York.

       13.    Plaintiff Charlie Monlouis-Anderle (they/them) is a Black resident of Brooklyn,

New York who was falsely arrested and subjected to excessive force on June 3, 2020 in Brooklyn,

New York.

       14.    Plaintiff Jaime Fried (they/them) is a white resident of Queens, New York who was

falsely arrested and subjected to excessive force on June 4, 2020 in the Bronx, New York and on

June 28, 2020 in New York, New York.

       15.    Plaintiff Micaela Martinez (she/her) is a Chicano resident of New York, New York

who was falsely arrested and subjected to excessive force on June 4, 2020 in the Bronx, New York.

       16.    Plaintiff Julian Phillips (he/him) is a Black resident of Brooklyn, New York, who

was falsely arrested and subject to excessive force on June 4, 2020 in the Bronx, New York.

       17.    Plaintiff Nicholas Mulder (he/him) is white resident of Queens, New York who was

falsely arrested and subjected to excessive force on June 4, 2020 in Williamsburg, New York.

       18.    Plaintiff Colleen McCormack-Maitland (she/her) is a white resident of Brooklyn,

New York who was subjected to excessive force on June 28, 2020 in New York, New York.

       19.    Defendant Bill de Blasio is the Mayor of New York City. As Mayor, de Blasio has

final policymaking authority with respect to city policy generally, including with respect to the




                                               4
           Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 5 of 48




NYPD. In addition, as Mayor, de Blasio is responsible for appointing the New York City Police

Commissioner. He is sued in his official and individual capacities.

        20.     Defendant Dermot Francis Shea is the Police Commissioner of New York City. As

Commissioner, Shea has final policymaking authority with respect to the NYPD. He is sued in his

official and individual capacities.

        21.     Defendant Terence Monahan is the Chief of Department of the NYPD. As Chief,

Monahan has been delegated final policymaking authority with respect to NYPD policies

including, but not limited to, those related to management of protests; use of force; deployment of

weapons; arrests; and treatment of arrestees. He is sued in his official and individual capacities.

        22.     Defendant the City of New York is a municipal corporation within the State of New

York. The NYPD is an agency of the City of New York.

        23.     Defendants NYPD Officers John Doe 1-32 are members of the NYPD whose full

identities are not known to the Plaintiffs, but are or were employed as police officers by the NYPD,

and participated in the encounters with the Plaintiffs described in paragraphs 74-163, infra. They

are all sued in their official and individual capacities.

        24.     Defendants NYPD Officers Jane Doe 1-2 are members of the NYPD whose full

identities are not known to the Plaintiffs, but are or were employed as police officers by the NYPD,

and participated in the encounters with the Plaintiffs described in paragraphs 74-163, infra. They

are all sued in their official and individual capacities.

        25.     Defendant NYPD Officer Doe Rivera is or was a police officer employed by the

NYPD whose full identity is not known to the Plaintiffs and participated in the encounters with

the Plaintiffs described in paragraphs 124-128, infra. He is being sued in his official and individual

capacities.




                                                   5
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 6 of 48




       26.     Defendant NYPD Officer Doe Husbands is or was a police officer employed by the

NYPD whose full identity is not known to the Plaintiffs and participated in the encounters with

the Plaintiffs described in paragraphs 157-60, infra. He is being sued in his official and individual

capacities.

       27.     Defendant NYPD Sergeant Doe Manning is or was a police officer employed by

the NYPD whose full identity is not known to the Plaintiffs and participated in the encounters with

the Plaintiffs described in paragraphs 162-63, infra. He is being sued in his official and individual

capacities.

       28.     Defendant NYPD Sergeant Doe Caraballo is or was a police officer employed by

the NYPD whose full identity is not known to the Plaintiffs and participated in the encounters with

the Plaintiffs described in paragraphs 162-63, infra. He is being sued in his official and individual

capacities.

                                              FACTS

The Murder of George Floyd, the Long History of NYPD Harassment and Abuse Targeting
     Black and Latinx New Yorkers, and the Eruption of Protests in New York City

       29.     On May 25, 2020, a white Minneapolis police officer pressed his knee to George

Floyd’s neck during an arrest over a suspected counterfeit $20 bill. The officer kept his knee on

Mr. Floyd’s neck for eight minutes and 46 seconds. Mr. Floyd repeatedly gasped, “I can’t breathe.”

The officer did not remove his knee even after Mr. Floyd lost consciousness, and for a full minute

after paramedics arrived at the scene. Mr. Floyd, a Black man, was declared dead at Hennepin

County Medical Center less than an hour later. Official and independent autopsies determined his

death was a homicide.

       30.     The brutal killing of Mr. Floyd, captured on a bystander’s video, sparked protests

against police brutality in all 50 states and around the world. For many, the killing of Mr. Floyd


                                                 6
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 7 of 48




was reminiscent of the killings of Tamir Rice, Philando Castile, Freddie Gray, Alton Sterling, and

Michael Brown, all unarmed Black people killed at the hands of law enforcement officers. This

year, once again, the entire country has been witness to a string of horrific examples of police

violence against Black people including the killing of Ahmaud Arbery outside Brunswick, Georgia

by a white retired police detective and his son; the March shooting of Breonna Taylor by

Louisville, Kentucky police in her own home; and the May killing of Tony McDade, a Black

transgender man, by police in Tallahassee, Florida, who yelled a racial epithet before shooting

him.

       31.     The NYPD has its own long history of violence towards Black and Latinx people.

The NYPD’s victims of racist violence include, to name only a few, Amadou Diallo, a West

African immigrant who was gunned down by NYPD officers as he reached for his wallet on

February 4, 1999; Sean Bell, who was murdered on the day before his wedding when officers

unloaded a fusillade of 50 bullets into his car on November 25, 2006; Ramarley Graham, an 18-

year-old teenager who was murdered in his bathroom by police officers on February 2, 2012; and

Eric Garner, who was choked to death as he cried “I can’t breathe” on July 17, 2014.

       32.     In these instances and others, City and NYPD leaders have repeatedly failed to

answer demands from the family members of victims of police violence to hold officers

meaningfully accountable for their misconduct, further exacerbating community distrust of the

NYPD, particularly among Black and Latinx New Yorkers.

       33.     Further, from 2002 to 2013, the NYPD implemented an aggressive and racially

discriminatory stop-and-frisk program, making over 5 million stops. Nearly 90 percent of those

stopped were Black or Latinx, and nearly all of them were innocent. In 2013, a federal court

declared the program unconstitutional. While the overall number of stops has dropped significantly




                                                7
            Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 8 of 48




since the court’s ruling, racial disparities in stop-and-frisk practices as well as in the enforcement

of a range of low-level — so-called “quality of life” offenses — have only increased since 2013,

continuing to strain relationships between police and the communities they are meant to serve, in

particular Black and Latinx communities.

          34.    When the COVID-19 pandemic hit New York City, the NYPD’s enforcement

practices disproportionately targeted Black and Latinx New Yorkers. In early May, the Kings

County District Attorney’s Office found that 35 out of 40 people arrested for social distancing

violations were Black New Yorkers. 1 Additionally, while officers handed out protective equipment

in largely white neighborhoods, they used aggressive tactics to enforce social distancing in

majority Black and Latinx neighborhoods. 2 In a bystander video gone viral, Officer Francisco

Garcia is captured on video tackling, punching, and sitting on top of a Black man during an arrest

of social distancing enforcement. 3 A young Black mother was brutally arrested inside a subway

station, in front of her young child, for improperly wearing a mask. 4 At the same time, photos,

videos, and complaints of officers refusing to wear masks proliferated, reinforcing a sense of deep

frustration at racist and unfair police encounters. 5


1
 Ashley Southall, Scrutiny of Social-Distance Policing as 35 of 40 Arrested Are Black, N.Y. TIMES (May 7, 2020),
https://www.nytimes.com/2020/05/07/nyregion/nypd-social-distancing-race-coronavirus.html; Josiah Bates, Police
Data Reveals Stark Racial Discrepancies in Social Distancing Enforcement Across New York City, TIME (May 8,
2020), https://time.com/5834414/nypd-social-distancing-arrest-data/.
2
    Id.

3
  Video of NYPD Arrest During Social Distancing Enforcement Sparks Outcry, ABC NEWS (May 4, 2020),
https://abc7ny.com/nypd-violent-arrest-east-village-caught-on-camera-legal-aid/6147631/; Justine Re, Viral Videos
Spark Concern About Unequal Social Distancing Enforcement in Five Boroughs, SPECTRUM NEWS (May 6, 2020),
https://www.ny1.com/nyc/all-boroughs/coronavirus-blog/2020/05/06/controversial-social-distancing-arrest.
4
  Jake Offenhartz, Violent Arrest Of Brooklyn Mom During Mask Confrontation Deemed “Troubling” By De Blasio,
GOTHAMIST (May 14, 2020), https://gothamist.com/news/violent-arrest-brooklyn-mom-during-mask-confrontation-
deemed-troubling-de-blasio
5
 Michael Wilson, Why are so many NYPD Officers Refusing to Wear Masks at Protests?, N.Y. TIMES (June 11,
2020), https://www.nytimes.com/2020/06/11/nyregion/nypd-face-masks-nyc-protests.html.



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           Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 9 of 48




          The City’s Deliberately Hostile, Violent Response to Protests in New York and the
               Mayor and Police Leadership’s Explicit Endorsement of that Response

        35.      On May 28, the first significant protest in New York City sparked by the police

killing of Mr. Floyd took place in Union Square in Manhattan. 6 As hundreds of people gathered,

the NYPD deployed a massive and aggressive police presence, according to first-hand press

accounts. Near City Hall, approximately 100 demonstrators filled the steps and sidewalk in front

of the Tweed Courthouse. According to the New York Attorney General’s preliminary report on

the New York City Police Department’s Response to Demonstrations Following the Death of

George Floyd, the demonstrators were met “by dozens of police officers behind a wall of

motorcycles.” These police officers kettled the protesters, “trapping them between the façade of

the courthouse and a line of officers who created a barricade with their bicycles.”

        36.      The next day, on May 29, protests in Manhattan and Brooklyn continued as did the

NYPD’s violence against protesters. Police made hundreds of arrests and indiscriminately used

pepper spray on crowds of demonstrators at Barclay’s Center on Flatbush Avenue in Brooklyn,

including against least two Black state legislators — Senator Zellnor Myrie and Assemblywoman

Diana Richardson. Both state legislators reported that “officers with bicycles began surrounding

them and the group of protesters they were demonstrating alongside. The officers began pressing

the wheels of their bikes into their bodies and then proceeded to pepper-spray them.” 7 Videos




6
 At Least 40 Arrests Made At Union Square Protest Over George Floyd’s Death, CBS N.Y. (May 28, 2020),
https://newyork.cbslocal.com/2020/05/28/several-arrests-made-at-union-square-protest-over-george-floyds-death/.
7
 Amanda Luz Henning Santiago, Even Black Lawmakers Get Pepper-Sprayed, CITY & STATE N.Y. (June 3, 2020),
https://www.cityandstateny.com/articles/politics/news-politics/even-black-lawmakers-get-pepper-sprayed.html.




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          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 10 of 48




showed NYPD officers violently throwing protesters to the ground, punching and striking

protesters with their batons, and indiscriminately pepper-spraying protesters. 8

        37.     Answering criticism that the NYPD engaged in brutal tactics and failed to de-

escalate the violence during the May 29 protests, Commissioner Shea blamed protesters, saying:

“It’s tough to practice de-escalation when you have a brick being thrown at your head.” The

Commissioner provided no evidence that any protesters had thrown bricks at the heads of any

police officers. Shea described the protest at Barclay’s Center as “a well-planned, orchestrated

protest” designed “specifically to cause mayhem,” providing no evidence that the intent of the

protest was to “cause mayhem” and ignoring the many signs and chants specifically calling for

reforms and de-funding of the NYPD. 9 Commissioner Shea repeatedly denigrated the protesters

as “outsiders” and implied that their calls for changes to policing were akin to “anarchy.”

        38.     Police violence against protesters escalated further during demonstrations on May

30. In demonstrations in Brooklyn throughout the day, NYPD helicopters repeatedly flew low over

the protesters, kicking up trash in the streets and even bending trees. NYPD officers hit protesters

with batons and pepper-spray and arrested many protesters, including kettling one group. 10 Many

police officers had covered their badge numbers with black bands, preventing protesters from

identifying officers who committed acts of violence.



8
 Matt Troutman, NYPD, Protesters Clash at Rally Over George Floyd Killing, PATCH (May 30, 2020),
https://patch.com/new-york/prospectheights/brooklyn-joins-protests-over-george-floyd-killing.
9
  200 Arrested in 2nd Day of Violent NYC Protests Against Police Brutality Over George Floyd Death, NBC N.Y.
(May 28, 2020), https://www.nbcnewyork.com/news/local/more-than-a-dozen-arrested-during-george-floyd-protest-
at-union-square/2436965/.
10
  Alan Feuer & Azi Paybarah, Thousands Protest in N.Y.C., Clashing With Police Across All 5 Boroughs, N.Y.
TIMES (June 11, 2020), https://www.nytimes.com/2020/05/30/nyregion/protests-nyc-george-floyd.html; Nick Pinto,
Over 300 Arrested In Third Day of Explosive George Floyd Protests in NYC, GOTHAMIST (May 31, 2020),
https://gothamist.com/news/over-300-arrested-third-day-explosive-george-floyd-protests-nyc.




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          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 11 of 48




        39.     In one of the day’s most extreme instances of violence, an NYPD truck facing a

crowd of protesters standing behind a barricade in Brooklyn drove forward into the crowd,

knocking people over. 11 Mayor de Blasio was aware of the incident, but he refused to hold the

police officers accountable for endangering lives. Instead, he blamed the protesters.

        40.     On the morning of May 31, Commissioner Shea tweeted out a message to the

Members of the NYPD that ignored the widespread nonviolence and specific demands of the

protests and legitimized the NYPD’s violent response, saying: “What you’ve endured these last

couple of days and nights — like much of 2020, so far — was unprecedented. In no small way, I

want you to know that I’m extremely proud of the way you’ve comported yourselves in the face

of such persistent danger.” 12

        41.     In the early evening of May 31, over 600 protesters gathered near Union Square in

Lower Manhattan. During this protest, an NYPD officer was videotaped flashing the “okay” hand

gesture, a hand sign that has been tied to white supremacy.9 Protesters continued to demonstrate

peacefully into the evening, but police presence increased dramatically. As the evening went on

police used kettling tactics and pepper-spray against protesters, swinging batons and pushing

protesters to the ground.10 During this protest, an NYPD officer also pointed and waved a gun at

fleeing protesters.11

        42.     By May 31, there were “[c]ountless videos circulated on social media showing

officers violently clashing with demonstrators,” barricading in protesters using the kettling




11
  Amir Vera, Video Appears to Show NYPD Truck Plowing Through Crowd During Protest, CNN (May 31, 2020),
https://www.cnn.com/2020/05/31/us/nypd-truck-george-floyd-protest/index.html.
12
  Commissioner Dermot Shea (@NYPDShea), TWITTER (May 31, 2020),
https://twitter.com/NYPDShea/status/1267074838436425729.




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             Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 12 of 48




technique, and “hitting people with batons and spraying pepper spray.” 13 The same day, Governor

Cuomo announced that he would ask the New York Attorney General to investigate violence

against protesters by police that the Governor described as “truly disturbing” and “inexplicable.”14

The Governor also said that he had spoken to Mayor de Blasio about the Attorney General’s

investigation into the NYPD.

           43.   On June 1, Mayor de Blasio issued Emergency Executive Order (EEO) 117,

declaring a state of emergency within the City of New York and imposing a curfew on all of New

York City’s 8.4 million residents from 11:00 p.m. on June 1 until 5:00 a.m. on June 2. Based on

the June 1 state of emergency, the Mayor issued two additional EEOs, 118 and 119, imposing a

City-wide curfew from 8:00 p.m. on June 2 until 5:00 a.m. on June 8. These orders declared and

then extended a separate state of emergency and imposed a curfew that banned people from public

presence anywhere in New York City and imposed criminal liability on those who knowingly

violated the order.

           44.   Police enforcement of the curfew was inconsistent across the City. While in some

instances police allowed protests to continue after the curfew, in other instances police used the

curfew as a pretext for perpetrating mass violence on and arresting protesters, with no apparent

justification for the differential treatment.

           45.   On the evening of June 1 in Midtown, a phalanx of officers charged at a group of

peaceful protesters, making arrests on the street and sidewalk, battering some with batons, and




13
  Sydney Pereira, Cuomo Says Attorney General Will Investigate NYPD’s “Inexplicable” Policing Of George Floyd
Protests, GOTHAMIST (May 31, 2020), https://gothamist.com/news/cuomo-says-attorney-general-will-investigate-
nypds-inexplicable-policing-george-floyd-protests.

14
     Id.




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           Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 13 of 48




chasing them up Eighth Avenue with pepper spray. 15 The same night, near Union Square, a

reporter for the Wall Street Journal said that officers hit him in the face with riot shields and pushed

him to the ground as he held his hands up and displayed his press credentials. 16

        46.      On June 2 in the early afternoon, about 2,000 protesters gathered at Foley Square

in Manhattan for a demonstration against police brutality. Police soon surrounded the protesters.

After a number of speeches and chants held without incident, the crowd, which had swelled to

about 10,000 demonstrators, began marching north towards East Harlem without incident. But as

evening approached and the demonstration arrived on the Upper West Side, the tenor and behavior

of the police escorting this group changed dramatically. NYPD officers tackled a person with press

credentials, charged into the crowd, and made several arrests. 17

        47.      That same day, in Chelsea, officers ripped a man out of his car for following behind

a protest. 18 Elsewhere in Manhattan, NYPD officers forced two Associated Press journalists to

stop covering the protests by surrounding, shoving, and cursing at them to go home. 19 Near the

West Side Highway, multiple officers beat a female protester of color with batons. 20 Almost no




15
  Sydney Pereira, Video: Cop Suspended Without Pay After Pepper-Spraying Bystander During Demonstrations,
GOTHAMIST (June 16, 2020), https://gothamist.com/news/video-cop-suspended-without-pay-after-pepper-spraying-
bystander-during-demonstrations.
16
  After Widespread Looting, Curfew Is Moved Up to 8 P.M., N.Y. TIMES (published Jun. 1, 2020, updated Jun. 2,
2020), https://nytimes.com/2020/06/01/nyregion/nyc-protests-george-floyd.html

17
  Demonstrators Linger After Curfew, Some Are Arrested in New York City N.Y. TIMES (published Jun. 2, 2020,
updated Jun. 5, 2020), https://www.nytimes.com/2020/06/02/nyregion/nyc-protests-george-floyd.html

18
  Jake Seiner and Deepti Hajela, ‘Not Stopping’: Defiant NYC Protesters March Through Curfew, ASSOCIATED
PRESS (June 3, 2020), https://apnews.com/article/33dbad46a5f8f1ea6bef22869350fccf

19
  The Associated Press, Police Shove, Make AP Journalists Stop Covering Protest, ASSOCIATED PRESS (June 2,
2020), https://apnews.com/article/1d2d9e4afdd822b27bfcce570e0cbdb5
20
  Yoav Gonen, Carson Kesler, and Peter Senzamici, In Their Own Words: Dozens of Protesters Detail Violent
Encounters with NYPD, THE CITY (June 10, 2020), https://www.thecity.nyc/2020/6/10/21287326/protesters-detail-
violent-encounters-with-nypd


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           Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 14 of 48




NYPD officers wore masks during these close confrontations with protesters.

        48.      On June 3, Ali Watkins, reporting for the New York Times, observed the kettling of

protesters by NYPD officers at a rally near Cadman Plaza in Brooklyn. Police officers penned

protesters with their bodies in close quarters, while the coronavirus pandemic still required social

distancing. After police advanced on protesters, Watkins described the scene: “For the next 20

minutes in Downtown Brooklyn, officers swinging batons turned a demonstration that had been

largely peaceful into a scene of chaos.”

        49.      During a June 4 press conference, the Mayor was asked about “widely circulated

videos of NYPD officers hitting peaceful protesters with batons the previous night” in Cadman

Plaza and claimed that he had not seen any of those videos. 21 De Blasio instead praised the police

response: “It is the nature of New York City and the restraint shown by the NYPD that we’re trying

to give people extra space, if they do it the right way — if they respect the instructions of the

NYPD and do no violence, no harm — don’t commit any violence.” 22 The Mayor failed to address

that many protesters and bystanders abused by the police had acted in “the right way” but were

nonetheless brutalized. At that same conference when asked whether he endorsed police violently

dispersing peaceful protesters after the curfew through baton strikes, shoving, and pepper spray,

Mayor de Blasio did not disavow such tactics.

        50.      Around 9:15pm on June 4, at a protest in the Williamsburg neighborhood of

Brooklyn, police officers charged into a group of protesters and beat them with batons, tackling

several people and making multiple arrests. Officers stood over at least a dozen protesters, zipping



21
   Shant Shahrigian, See No Evil: NYC Mayor de Blasio Claims Ignorance of NYPD Use of Batons on Peaceful
Protesters, N.Y. DAILY NEWS (June 4, 2020), https://www.nydailynews.com/news/politics/ny-bill-de-blasio-sees-
no-evil-20200604-u5iryfqrpvcf5l4tfjvwl6igue-story.html.
22
  Ali Watkins, Kettling of Peaceful Protesters Shows Aggressive Shift by N.Y. Police, N.Y. TIMES (June 5, 2020),
https://www.nytimes.com/2020/06/05/nyregion/police-kettling-protests-nyc.html.


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          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 15 of 48




plastic handcuffs on them and ignoring screams and cries for help. One man, pinned face-down

near the curb, said he was a member of the press. A woman who swore at officers was flung to the

ground and cuffed. Around the corner on Bedford Avenue, at least three officers tackled a male

cyclist, pulling him off his bike and onto the pavement.

        51.     That same evening, a group of predominantly Black and Latinx people participated

in a planned rally and march through the Mott Haven neighborhood of the Bronx. As the protesters

marched through the neighborhood, police officers in riot gear began to surround the crowd and

kettle them on all sides. Many people asked officers to be let out so they could comply with the

8:00 p.m. curfew but were ignored. No one was given an opportunity to disperse. Shortly before

the curfew began, police officers began to attack the kettled protesters with baton strikes and

pepper spray, violently plowing through lines of protesters as other officers followed in their wake,

handcuffing protesters with plastic zip ties. Well over 200 people were arrested.

        52.     Many were injured, some seriously so. Medics had attended this protest to provide

emergency medical care to injured protesters, but the NYPD officers arrested most of the medics

and refused their pleas to be released to provide emergency care to those who had been wounded.

        53.     Jake Offenhartz of WNYC and Gothamist was an eyewitness to the event. He

wrote: “Moments before curfew struck at 8 p.m., demonstrators marching down 136th Street in

Mott Haven were blocked by a wall of heavily armored police with bicycles. As those cops heaved

their bikes into protesters, another group of officers emerged at the top of the street, charging down

the hill and pushing protesters into the advancing throngs of bike cops.” 23 Offenhartz further

observed: “Over the next hour, cops would handcuff roughly 100 individuals in the group —


23
  Jake Offenhartz, NYPD’s Ambush of Peaceful Bronx Protesters Was “Executeted Nearly Flawlessly,” City
Leaders Agree, GOTHAMIST (June 5, 2020), https://gothamist.com/news/nypds-ambush-of-peaceful-bronx-
protesters-was-executed-nearly-flawlessly-city-leaders-agree.



                                                     15
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 16 of 48




including several legal observers and medics. Two people were seen leaving the scene on a

stretcher.” Video from the scene captured police beating people with batons.

        54.     Chief of Department Monahan was present at the June 4 march in the Bronx and

directed the police response, which included the use of two police helicopters. At the 2004

Republican National Convention in New York City, Monahan (who was a high-level NYPD

official in the Bronx at that time) unlawfully ordered the arrest of over 200 people who were

peacefully marching on a sidewalk in lower Manhattan. 24 After the RNC protests, the Civilian

Complaint Review Board received more than 60 complaints related to mass arrests, including from

innocent bystanders who were swept up in maneuvers initiated by then-Deputy Chief Monahan.

The CCRB specifically cited Monahan in connection with those complaints. At the 2004 RNC

protests, the police also penned in large groups of people and did not allow them to disperse. These

tactics bear an unmistakable resemblance to the kettling tactics used throughout the current protests

arising from the murder of George Floyd and during the June 4 Mott Haven operation in particular.

As at the RNC protests in 2004, Monahan failed to give adequate notice to the protesters in Mott

Haven to disperse before the police boxed them in, and beat and arrested many.

        55.     At a June 5 press conference, Commissioner Shea described the NYPD’s

“operation” in Mott Haven as “executed nearly flawlessly.” 25 Mayor de Blasio said regarding the

Mott Haven operation: “This is something the NYPD saw coming.” In response to questioning at

the June 5 press conference, Mayor de Blasio further stated: “We had observers for City Hall”



24
  Greg B. Smith, Top NYPD Curfew Cop Faulted for Mass Arrest Tactics During 2004 GOP Convention, THE CITY
(June 5, 2020), https://www.thecity.nyc/2020/6/5/21282199/top-nypd-curfew-cop-faulted-for-mass-arrest-tactics-
during-2004-gop-convention.
25
  WATCH: NYC Mayor de Blasio Says Protests Are Largely Peaceful, Curfew Will Continue, PBS NEWSHOUR
(June 5, 2020), https://www.pbs.org/newshour/nation/watch-nyc-mayor-de-blasio-says-protests-are-largely-
peaceful-curfew-will-continue.



                                                     16
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 17 of 48




present at the NYPD operation in Mott Haven, who reported their accounts back to him,

demonstrating the Mayor’s advance knowledge of and participation in the planning and execution

of the NYPD operation in Mott Haven.

        56.     During the June 5 press conference, Mayor de Blasio and Commissioner Shea

provided a pretextual justification for the violent and abusive NYPD operation in Mott Haven,

claiming that the intent of protest organizers was “to cause mayhem.” 26 Mayor de Blasio has also

repeated this baseless justification for the Mott Haven operation, stating: “There was a specific

pre-announced threat of violence and then people appeared at the protest with weapons and

gasoline . . . it is absolutely incumbent upon the police to make sure that does not proceed because

we won’t tolerate violence.” The Mayor’s comments were false. Instead, “[t]he firearm was

recovered by police hours before the protest began, several blocks away, in the car of an individual

with no apparent link to the demonstration” and “[g]asoline was not found at the scene.” 27

        57.     On June 5, at a protest on Nostrand Avenue in Brooklyn, Zach Williams, a reporter

for City and State magazine, filmed officers surrounding peaceful protesters and arresting them,

as well as officers shoving, threatening with batons, and arresting people doing nothing more than

filming the officers from a safe distance, including at least one reporter who was walking away

from police officers when they attacked him. 28



26
  Jake Offenhartz, Meet the “Outside Agitator” Whose Bronx March Was Violently Cracked Down On by the
NYPD, GOTHAMIST (June 10, 2020), https://gothamist.com/news/meet-outside-agitator-whose-bronx-march-was-
violently-crushed-nypd.
27
  Id.; Craig McCarthy, NYPD Commissioner Dermot Shea Ignores His Own ‘Misinformation’ Warnings, N.Y. POST
(June 8, 2020), https://nypost.com/2020/06/08/nypd-commissioner-ignores-his-own-misinformation-warnings/.
28
  Zach Williams (@ZachReports), TWITTER (June 5, 2020, 10:38 PM),
https://twitter.com/ZachReports/status/1269096296247369732; Zach Williams (@ZachReports), TWITTER (June 5,
2020, 10:21 PM), https://twitter.com/ZachReports/status/1269091966710624256; Zach Williams (@ZachReports),
TWITTER (June 5, 2020, 10:36 PM), https://twitter.com/ZachReports/status/1269095713444712450.




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          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 18 of 48




        58.      On June 5, 2020, in response to criticism from medical professionals that the

NYPD’s use of pepper spray at the recent protests posed a public health threat and calls to prohibit

its use, the NYPD reaffirmed its policy of using pepper spray as a crowd control device. 29

        59.      Protests in support of defunding the police and police reform persisted throughout

the month of June and the NYPD continued to respond with violence. 30 On June 14, a reporter in

Times Square documented NYPD officers grabbing metal barricades and using them and their fists

to shove large groups of protesters to the ground. 31 On June 23, around 100 demonstrators set up

camp in the park across from City Hall, referred to as “Occupy City Hall,” to pressure Mayor de

Blasio and the City Council to make significant funding cuts to the NYPD. 32 On June 30, without

warning, NYPD officers encircled the group, pushed them to the sidewalk, and struck them with

batons hours before the City Council voted on the budget. 33

        60.      On June 28, thousands of protesters took to the streets of Manhattan for the Queer




29
  Virginia Breen, Eye Docs’ Crystal-Clear Message to NYPD: Stop Using Pepper Spray, THE CITY (June 5, 2020),
https://www.thecity.nyc/health/2020/6/5/21282192/eye-docs-crystal-clear-message-to-nypd-stop-using-pepper-
spray.
30
  See Ruschell Boone, et al., ‘I’ve Been Waiting for This Generation’: Protesters in NYC Demand Police Reform,
SPECTRUM NEWS (June 16, 2020), https://www.ny1.com/nyc/all-boroughs/news/2020/06/16/black-lives-matter-
protests-continue-into-20th-day-of-demonstrations; N.Y.S. OFFICE OF THE ATTORNEY GENERAL, PRELIMINARY
REPORT ON THE NEW YORK CITY POLICE DEPARTMENT’S RESPONSE TO DEMONSTRATIONS FOLLOWING THE DEATH
OF GEORGE FLOYD (July 2020), https://ag.ny.gov/sites/default/files/2020-nypd-report.pdf.

31
  Rosalind Adams (@RosalindZAdams), TWITTER (June 14, 2020, 5:23 PM),
https://twitter.com/RosalindZAdams/status/1272278438787928064?s=20.
32
   Amanda Rosa, How the Police Ousted ‘Occupy City Hall’, N.Y. TIMES (July 23, 2020),
https://www.nytimes.com/2020/07/23/nyregion/occupy-city-hall-nyc.html.
33
   Jake Offenhartz & Gwynne Hogan, NYPD Officers Rough Up Protesters Occupying City Hall in Show of Force
Before Budget Vote, WNYC (June 30, 2020), https://gothamist.com/news/nypd-officers-rough-protesters-occupying-
city-hall-show-force-budget-vote.




                                                      18
           Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 19 of 48




Liberation March for Black Lives and Against Police Brutality. 34 The Queer Liberation March

explicitly identifies as an action in juxtaposition to the annual Pride March, rejecting corporate ties

and affiliation with the police. 35 The march was peaceful until the protesters entered Washington

Square Park, where large numbers of police officers were waiting. The officers then charged into

the crowd to arrest a protester who allegedly used a sharpie to write on a car. The Reclaim Pride

Coalition, the group that organized the protest, states that “[s]uddenly, a large crowd of NYPD

officers rushed in and attacked with pepper spray . . . One NYPD member reached out to slam a

woman on a bicycle to the ground. Other marchers were punched and violently shoved.”

        61.      Prior to and during the Floyd protests, the City and NYPD failed to adequately

train, supervise and discipline police officers, including the individual officers named in this

action, to prevent the use of excessive force during the Floyd protests.

        62.      In mid-July, Commissioner Shea announced that the NYPD is undergoing an

evaluation of its protest response tactics. According to Commissioner Shea, the Department will

be implementing a “disorder control training” for its entire force, reinstating a program that it had

ended some years ago.

        63.      The violence by police officers against the plaintiffs and other protesters at

demonstrations and rallies in support of Black Lives Matter and against police violence were not




 Tim Fitzsimons, NYC’s Queer Liberation March Draws Thousands, Clashes with NYPD, NBCNEWS (June 29,
34

2020), https://www.nbcnews.com/feature/nbc-out/nyc-s-queer-liberation-march-draws-thousands-clashes-nypd-
n1232396.
35
  “The Queer Liberation March had its roots in the 2017 Pride March, which featured the disruptive début of the
Resistance Contingent, a consortium of activist groups that formed in response to the Trump Administration. It
included groups such as Gays Against Guns, which staged a die-in, and Hoods4Justice, which formed a blockade to
prevent the N.Y.P.D. marching band from joining the parade, with banners reading “There are no queer friendly
cops” and “Decolonize pride.”” Michael Schulamn, A Radical Challenger to New York City’s Pride March, THE
NEW YORKER (June 25, 2020), https://www.newyorker.com/culture/cultural-comment/queer-liberation-march-a-
radical-challenger-to-new-york-city-pride


                                                      19
            Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 20 of 48




isolated instances. Rather, the challenged practices were so widespread and frequent as to

constitute a custom and usage of the NYPD.

        64.     Mayor de Blasio, Commissioner Shea, and Chief Monahan knew that that NYPD

officers would confront protesters marching against police brutality; that officers would respond

with violence, including the use of kettling, chemical irritants, fists, baton strikes, and excessively

tight handcuffs; and that officers would deliberately refuse to wear masks in violation of state law.

        65.     During the period of these protests, the Mayor and police leadership were aware of

NYPD actions to violently suppress protests against police accountability through media reports,

reports from staff, and regular interactions with other NYPD leaders. Their corresponding inaction

to address this pattern and statements and actions endorsing it constitute a City policy to engage

in excessive force, discriminate on the basis of viewpoint against those fighting for greater police

accountability for brutality, and retaliate against people engaged in their constitutionally protected

right to protest.

        66.     On information and belief, Mayor de Blasio and Commissioner Shea received

regular reports from Chief of Department Monahan and other NYPD officials responsible for

implementing the City’s response to the protests.

        67.     On information and belief, Mayor de Blasio, Commissioner Shea, and Chief

Monahan regularly reviewed media reports documenting patterns of police responses to the

protests.

        68.     In the space of one week of protests, the Civilian Complaint Review Board received

633 complaints, information the Mayor and police leadership knew at the time the complaints were




                                                  20
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 21 of 48




filed. 36 By June 12, the number of CCRB complaints regarding protest policing had grown to over

700, a fact that Mayor and police leadership knew at the time.

        69.     The City has a long history of misconduct — including, but not limited to, mass

false arrests, excessive force, and excessive detention — associated with the NYPD’s development

and implementation of policies and practices concerning arrests and crowd control arising out of

protests. That history of misconduct is reflected in the NYPD’s conduct towards Plaintiffs and

other demonstrators during the protests described herein.

                      Investigations and Reports on the NYPD’s Protest Activities

        70.     In or about June 2020, New York Attorney General Letitia James launched an

investigation into the NYPD’s practices during the protests, which gathered information from the

NYPD and other New York City agencies, numerous witnesses and community-based

organizations, as well as over 1,000 written submissions.

        71.     Attorney General James found that the most common complaints focused on police

officers’ excessive use of force particularly by “using excessive force against protesters, including

use of batons and indiscriminate use of pepper, brandishing firearms at protesters, and pushing

vehicles or bikes into protesters.” Additionally, the Office of the Attorney General gathered

extensive testimony about the use of the “kettling” tactic, which often led to violent clashes

between NYPD and protesters, and unlawful arrest related practices, including using extremely

tight zip-ties to restrict hands, and holding protesters for significant time after arrest.




36
  Shayna Jacobs, NYPD Faces 633 Complaints After a Week of Protests, WASH. POST (June 5, 2020),
https://www.washingtonpost.com/national-security/george-floyd-protests-new-york-nypd-
complaints/2020/06/05/dd91e4dc-a754-11ea-b619-3f9133bbb482_story.html.




                                                     21
              Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 22 of 48




            72.      On September 25, 2020, Physicians for Human Rights (“PHR”) released a report

detailing the police violence and arrests of health care workers at the June 4 protest in Mott Haven

in the Bronx. 37 PHR findings corroborated the reports of unprovoked police violence. PHR

concluded that (1) there was dangerous police violence and excessive force against peaceful

protesters; (2) the police created dangerously crowded conditions by “kettling” protesters and

medics in the setting of a pandemic; and (3) the police denied volunteer medic access to injured

protesters, effectively depriving injured protesters to immediate medical assessment and care.

            73.      Days later, on September 30, 2020, Human Rights Watch (“HRW”) released a

comprehensive, scathing report on the same protest. HRW’s months-long investigation revealed

that the police response to the peaceful Mott Haven protest was intentional, planned, and

unjustified. 38 Based on interviews with over 100 witnesses, HRW found that the protest was

peaceful until NYPD began kettling the protesters. 39 The report also concluded that rather than

processing all the arrests in one central location, as NYPD reportedly does at Mass Arrest

Processing Centers, people were moved to different precincts across the Bronx, Queens, and

Brooklyn — unnecessarily prolonging their detention. Conditions were crowded and unsanitary,

creating heightened risks of exposure to COVID-19.

                       Plaintiffs’ Experiences of Police Abuse at New York City Protests

                                     Plaintiffs Andie Mali and Camila Gini



37
  PHYSICIANS FOR HUMAN RIGHTS, ‘A TARGETED ATTACK ON THE BRONX: POLICE VIOLENCE AND ARRESTS OF
HEALTH WORKERS AT A NEW YORK CITY PROTEST (Sept. 2020), https://phr.org/wp-content/uploads/2020/09/A-
Targeted-Attack-on-the-Bronx_Police-Violence_Sept-2020.pdf.
38
   HUMAN RIGHTS WATCH, ‘KETTLING’ PROTESTERS IN THE BRONX: SYSTEMIC POLICE BRUTALITY AND ITS COSTS IN
THE UNITED STATES (Sept. 2020), https://www.hrw.org/report/2020/09/30/kettling-protesters-bronx/systemic-police-
brutality-and-its-costs-united-states.
39
     Id. at 23-29.



                                                      22
         Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 23 of 48




       74.     On May 30, 2020, Plaintiffs Andie Mali and Camila Gini saw protesters against

police violence gathered near the Barclay’s Center in Brooklyn and were moved to participate.

They marched with other protesters up Fort Greene Place and over to the corner of DeKalb and

Flatbush Avenue, where they listened to speeches, including from people who had lost family

members to police violence, and observed a moment of silence for victims of police shootings. As

they listened, police began to surround the crowd. Mali and Gini heard screaming and saw some

protesters running. Afraid of police violence, they headed toward where their car was parked, so

they could return home.

       75.     Mali and Gini could not outrun the police violence. As they walked down Flatbush

Avenue on the sidewalk, they heard a man screaming “I can’t breathe!” from inside a ring of

several police officers. For Mali, the words evoked the death of George Floyd. He worried for the

man’s life and, remembering how a bystander’s video had exposed what happened to George

Floyd, felt an obligation not to walk away while the man was pleading for his life.

       76.     As he approached from a safe distance to observe the actions of the police officers,

an officer in a white shirt (Officer John Doe 1) asked him, “what the fuck are you doing?” Before

Mali could respond, the officer shoved him with two hands. Mali explained that he was not trying

to interfere and just wanted to see what was happening, but the officer shoved him again and began

cursing, calling Mali an “asshole” and denigrating the protests as “pointless” and about things that

“didn’t happen here.”

       77.     Several other officers, in addition to the officer in the white shirt, quickly gathered

around Mali. None of the officers, including the officer in the white shirt, were wearing masks.

Mali started to back away from the officers toward the building behind him. Some of the officers

yelled at Mali to leave, and others yelled at him to get down on the ground. Mali did not know




                                                 23
            Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 24 of 48




what to do in the face of these conflicting orders, and froze. Two or three of the officers began to

strike Mali on his head, legs and arms with batons (Officers John Doe 2-4). Gini stepped between

Mali and the officers with her arms up, saying “we are leaving, we are leaving.” At least three

other officers tackled Gini to the ground, pinning her legs down with their knees, beating her on

the head, neck and back with batons, and twisting her arms back to be handcuffed (Officers John

Doe 5-7).

       78.      When Mali saw Gini tackled and beaten by the officers, he immediately dropped to

the ground and begged them to stop beating Gini. The officers continued to strike him on the head

and on the legs with their batons, pinning him down with their bodies and placing him in handcuffs.

       79.      Eventually, Mali and Gini were placed on a bus to be transported away from the

protest. As they waited, the man they heard screaming “I can’t breathe” was brought onto the bus.

Mali and Gini could see he was in serious pain. His clothes were ripped, he was wearing one shoe,

and he had been pepper sprayed in the face and could not see. In response to his pleas for help, an

officer poured water down his face, which caused more pepper spray to enter his nose and mouth

and prompted the man to spit on the floor of the bus. An officer then shoved the man against the

window of the van, held a Taser to his head, and told him to “watch what happens if you do that

again.” The officer then put a second set of handcuffs on the man so tightly that the man cried out

in pain and could not sit down for the entire bus journey. Mali and Gini were terrified.

       80.      Mali and Gini were taken to the 88th Precinct for processing. As they exited the

bus and entered the precinct with other protesters single-file, officers gathered to jeer at them,

calling out names of countries that seemed to be attempts to guess the protesters’ nationalities.

Mali heard the officers yelling the names of African countries as he passed and Gini heard the

officers say “Cambodia” as she passed them. Some of the officers had their phones out and




                                                24
         Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 25 of 48




appeared to be recording this humiliating encounter. Mali and the other male protesters on their

bus were patted down, but officers subjected Gini to a more intensive frisk. Mali and Gini were

held in the precinct until approximately 3:00 am on May 31, when they were released with tickets

for disorderly conduct. Their summonses were never prosecuted.

       81.     After returning home to rest, Gini and Mali sought medical treatment for their

injuries the next day, including bruising, abrasions and head injuries.

                                      Plaintiff Vidal Guzman

       82.     Between May and October 2020, Plaintiff Vidal Guzman attended protests in the

Bronx, Brooklyn, Manhattan, Queens, and Staten Island, all in support of Black lives and

advocating to defund the NYPD. At many of these protests, Guzman witnessed NYPD officers

harm protesters by hitting them with batons, shoving them to the ground with their hands, bicycles,

and metal barricades, punching and kicking them, and pepper-spraying peaceful protesters with no

warning or order to disperse.

       83.     Guzman attended one of these protests calling for justice for George Floyd and in

support of Black Lives Matter on the evening of May 30, 2020. Guzman joined the protest at Union

Square in the early evening. They protesters marched from Union Square towards the FDR Drive,

and then entered the FDR and headed south. While on the FDR, NYPD helicopters hovered

dangerously close to the protesters, which frightened Guzman and others. Once the protesters

reached the South Street exit, they exited the FDR onto South Street without incident.

       84.     After exiting the FDR, Guzman and the remaining protesters gathered and formed

a community circle to share words of appreciation and hope with one another near the entrance to

the Lower Eastside Service Center, a treatment center and community space. As different




                                                 25
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 26 of 48




community members and protesters came together, Guzman noticed that NYPD officers had

surrounded the protesters in police vehicles and were starting to get out of their vehicles.

        85.     Before the protesters could end the community circle and without any warning or

notice to disperse, NYPD officers charged at the circle of protesters. As the police charged at the

protesters, Guzman heard one officer (Officer John Doe 8) say, “you have to get off of here,” but

before Guzman even had a chance to move, Officer John Doe 8 sprayed him with pepper-spray

directly in the face.

        86.     Guzman immediately fell to the ground in pain, injuring his right leg. Guzman’s

eyes, mouth, nose, face, and arms burned with intense pain. Another protestor came to Guzman

and pulled him onto the steps of the Lower Eastside Service Center and treated his eyes with milk

and water. Once Guzman finally was able to open his eyes, he saw other protesters recovering

from being pepper-sprayed. He saw NYPD officers hitting other protesters repeatedly with batons.

        87.      Guzman was not arrested.

        88.     Guzman later learned that around 15 other protesters, none of whom were arrested,

had been injured by the police. Some had injuries from the police hitting them repeatedly with

batons and others had been pepper-sprayed.

        89.     For the next three days, Guzman’s eyes, face, and arms continued to burn from the

pepper-spray. He also had pain in his right leg and had trouble walking for around three weeks.

This pain severely limited his ability to do normal activities.

                               Plaintiff Vivian Matthew King-Yarde

        90.     On the evening of May 31, 2020, Plaintiff Vivian Matthew King-Yarde was on

Broadway Avenue near Union Square filming protesters as part of his work as an independent

member of the press. The protesters, who were being pushed back by police officers, kept their


                                                 26
         Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 27 of 48




hands in the air. As he filmed from his bicycle, a police officer (Officer John Doe 9) turned toward

King-Yarde and told him to back up. King-Yarde started to back up but before he could completely

move out of the officer’s way, Officer John Doe 9 shoved him. He repeatedly told Officer John

Doe 9 that he was a member of the press, but the officer shoved him again, knocking him to the

ground and bringing his bicycle down on top of him. The phone that King-Yarde used to record

the protest when flying to the ground and was eventually crushed.

       91.     Officer John Doe 9 then threw King-Yarde’s bike aside and three police officers

(Officers John Doe 10-12) pinned him down by placing their knees onto his back, shoulders, legs,

and arms. While he was on the ground, he could not breathe. One of these three officers then tightly

zip-tied his wrists, causing a sharp pain in his right shoulder. King-Yarde did nothing to provoke

or justify this violent response or his arrest. Although King-Yarde wore a mask, none of these

police officers wore masks.

       92.     After about an hour, the police officers placed King-Yarde into a police van and

took him to One Police Plaza. His wrists and shoulder were in a lot of pain from the tight handcuffs,

which he was forced to wear for around three hours. During the time he was handcuffed, his face

mask was hanging off of his face and no officer offered to help him fix it to cover his nose and

mouth. He was very worried that his mask was off in such close quarters and that none of the

police officers wore masks, exposing him to a heightened risk of contracting COVID-19.

       93.     King-Yarde was placed in a holding cell when he arrived at One Police Plaza. He

was packed into the small holding cell with about five other protesters, many of whom were

handcuffed with their masks hanging off and leaving their noses and mouths uncovered. While in

the cell, King-Yarde lifted his shirt and realized that he was bleeding from a laceration on his




                                                 27
            Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 28 of 48




stomach. King-Yarde was held in detention for several hours and was eventually released at about

4 a.m. on June 1, 2020. He was not charged with any crime.

        94.     For several days after the incident King-Yarde had shoulder pain and he still has a

wound on his stomach. Additionally, King-Yarde was left traumatized with significant emotional

distress.

                                      Plaintiff Jarrett Payne

        95.     On June 2, 2020, Plaintiff Jarrett Payne attended a protest that began at Foley

Square and marched uptown. As the evening approached, Payne was aware of the Mayor’s curfew

starting at 8:00 pm but, because the protest was peaceful and he had heard that police had allowed

peaceful protests to continue past the curfew on other occasions, he decided to keep marching as

long as the police allowed it.

        96.     As Payne marched up the sidewalk on the Central Park side of 5th Avenue, he

noticed police officers beginning to gather towards the rear of the protest. Some officers in white

shirts were lined up across the street and swinging their batons in a menacing way that made Payne

nervous. As one of those officers (Officer John Doe 13) crossed the street to approach him, Payne

slowly backed away and was blindsided by another officer (Officer John Doe 14) who struck him

with a baton and shoved him to the ground. Payne’s body struck something hard – possibly a bench

– and then fell into the wall of Central Park and onto the ground, knocking his glasses off his face

so he could not see properly. Several officers (Officers John Doe 15-17) then struck him repeatedly

with batons, yelling at him to put his arms underneath him, but pinning him down so that he could

not comply. No officer had given any instruction to Payne prior to attacking him, and Payne did

not resist the officers in any way.

        97.     Eventually the officers pulled Payne up and placed handcuffs very tightly around




                                                28
            Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 29 of 48




his wrists, causing him pain. Payne was bleeding very badly from his head, with blood soaking his

mask and covering his sign, which lay on the ground and read “The System is the Problem.” The

officers seized his blood-soaked mask from the ground, where it had been knocked off Payne’s

face during the attack, and did not offer a replacement or any medical assistance. None of the

officers were wearing masks.

          98.    As Payne was waiting in handcuffs to be transported for arrest processing, one of

the police officers standing nearby said to him, unprovoked, “you got what was coming to you.”

          99.    Officers took Payne to Brooklyn for processing, where other officers broke a pair

of scissors trying unsuccessfully to remove his tight handcuffs. They eventually offered him a

band-aid for his bleeding, which he immediately bled through, and then a second one, which he

also bled through. He and other people in his cell, who were alarmed by his physical condition,

repeatedly asked for help, but no other first aid was offered throughout the many hours Payne

remained incarcerated until his release at around 2 or 3:00 a.m. on June 3, 2020. He was met by

jail support volunteers who took him to the emergency room, where he was treated for his injuries

and received stitches. To date he still has significant back and wrist pain caused by the officers’

attack.

          100.   Payne received summonses for disorderly conduct and violation of the Mayor’s

curfew, which were dismissed by the district attorney’s office.



                                Plaintiff Charlie Monlouis-Anderle

          101.   On June 3, 2020, Plaintiff Charlie Monlouis-Anderle attended a demonstration in

Brooklyn. As they arrived that evening, they immediately noticed a large police presence and that

many officers seemed angry even though the crowd was marching peacefully. One police officer




                                                 29
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 30 of 48




with no mask came within a foot of Monlouis-Anderle with no mask on and yelled at them.

Monlouis-Anderle was wearing a mask, but most of the police officers at the demonstration were

not.

       102.    They marched with other protesters toward Borough Hall. When they arrived at

Cadman Plaza, dozens of police officers in full riot gear with their batons out surrounded the

protesters, penning them in on four sides except for a very small opening next to Borough Hall.

Monlouis-Anderle was terrified. They never heard the police tell the protesters to leave or disperse.

       103.    Suddenly, at or around 8:15 p.m., the NYPD officers sprinted toward the protesters

with their batons raised. Monlouis-Anderle saw NYPD officers tackle and repeatedly beat with

batons two protesters while they were on the ground trapped against a fountain.

       104.    Seconds later, without warning or provocation, Monlouis-Anderle was tackled to

the ground by at least three police officers (Officers John Doe 18-20). The officers repeatedly and

forcefully beat them with batons while they were on the ground. Officers John Doe 18, 19 and 20

pinned Monlouis-Anderle’s arms, legs, and head to the ground as they felt their body go limp and

their bladder release.

       105.    Officer John Doe 18 forcefully pulled Monlouis-Anderle’s arms behind them and

tightly placed metal handcuffs on their wrists, causing extreme pain. While they were still on the

ground, Officer John Doe 18 tightly zip-tied their wrists with plastic handcuffs on top of the metal

handcuffs and forcefully lifted them from the ground. They yelped, feeling a sharp, intense pain

in their right arm. The officers wrestled the metal handcuffs off their wrists, leaving them in the




                                                 30
         Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 31 of 48




tight plastic zip ties. Monlouis-Anderle had the acute sensation that their right arm was detached

from their body and yelled out in shock.

       106.    Monlouis-Anderle repeatedly asked for urgent medical attention. The police

officers ignored their requests. Two female officers marched them to a bus. The NYPD officer to

their right was a white female officer (Officer Jane Doe 1, Badge No. 5130). Officer Jane Doe 1

yanked their right arm and yelled at them to walk.

       107.    Monlouis-Anderle repeatedly begged Officer Jane Doe 1 not to pull their arm. Their

right arm was in excruciating pain, and intense pain radiated throughout the rest of their body.

They felt that their right arm was somehow in front of their body, even though it was behind them.

       108.    They were in so much pain, they felt like they were going to vomit. Tears and saliva

streamed down Monlouis-Anderle’s face as they begged the officers not to touch their right arm.

Officer Jane Doe 1 said to the other officer, “That’s disgusting.” Officer Jane Doe 1 continued to

yank their right arm and yell at them to walk.

       109.    As Officer Jane Doe 1 continued to walk them to the bus, she pulled back on

Monlouis-Anderle’s right arm and brought it up above their head and behind them so that they

doubled-over forwards. Monlouis-Anderle heard a snapping sound come from their right arm and

screamed out in extreme pain. In addition to feeling intense shooting pain, they also felt additional

numbness and tingling in their right arm, hand, and wrist.

       110.    Officer Jane Doe 1 screamed at them, “You should be ashamed of yourself, you’re

an embarrassment!” Monlouis-Anderle repeatedly begged Officer Jane Doe 1 not to pull their arm,




                                                 31
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 32 of 48




but the more they pleaded, the more Officer Jane Doe 1 repeatedly tightened her grip and roughly

pushed and pulled on their right arm.

       111.    By the time they arrived at the bus, the excruciating pain made it difficult to see or

walk. Officer Jane Doe 1 threw Monlouis-Anderle onto the bus. Monlouis-Anderle noticed there

was a large and growing lump on their right upper arm or shoulder area, and below the lump, their

arm hung at an angle. Their hands began to turn blue because the zip ties were so tight. Monlouis-

Anderle asked repeatedly two male officers on the bus (Officers John Doe 21 and 22) for medical

help and to cut the zip ties from their wrists, but they refused.

       112.    Another protestor on the bus informed Officers John Doe 21 and 22 of Monlouis-

Anderle’s gender-neutral pronouns, but both officers ignored the protestor, and instead repeatedly

purposefully used the wrong pronouns when referring to Monlouis-Anderle, which felt

humiliating.

       113.    Much later, the paramedics arrived and asked Monlouis-Anderle if they could feel

their fingers on their right arm. They barely could. Sometime after, the paramedics finally cut the

zip ties and provided them with pain medication. The paramedics put them on a stretcher and onto

an ambulance. A police car followed the ambulance to New York Presbyterian Brooklyn

Methodist Hospital.

       114.    When they arrived at the hospital, two male police officers (Officers John Doe 23

(Tax Registration No. 6622200) and 24) followed Monlouis-Anderle into the trauma room, where

Monlouis-Anderle was forced to disclose their gender identity in front of the officers, which felt




                                                  32
            Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 33 of 48




humiliating. Monlouis-Anderle told the hospital staff what had happened and saw the police

officers roll their eyes.

         115.   As they waited for an x-ray, hospital staff left them alone in the room with the

police officers. Monlouis-Anderle began having difficulty breathing and had an anxiety attack.

When the hospital staff returned, they begged them not to leave them alone with the police officers

again.

         116.   Officer John Doe 23 wrote Monlouis-Anderle a summons for disorderly conduct,

N.Y. Penal Law § 240.20(6), and left them at the hospital later that night. Monlouis-Anderle

received a letter in the mail from the Criminal Court of the City of New York, County of Kings

informing them that the June 3, 2020 charge for disorderly conduct “was dismissed on September

1, 2020” and “was sealed pursuant to Section 160.50 CPL.”

         117.   Monlouis-Anderle suffered a fracture to their right arm as well as nerve damage

and has sought and received additional medical care and treatment as a result of this traumatic

incident.

                                        Plaintiff Jaime Fried

         118.   On June 4, 2020, Plaintiff Jaime Fried attended a protest organized in the Mott

Haven neighborhood of the Bronx. They were there to support the cause of protesting against

police violence by using their skills as a trained nurse and emergency medic to provide essential

medical services to anyone injured while exercising their rights. They brought medical supplies to

the protest, which they kept in a fanny pack attached around their waist, as well as in a clear

backpack clearly marked with a large red cross which they wore. At the protest, Fried wore hospital

scrubs with a large red cross on the front and back of the shirt so protesters and police could clearly

identify them as a medic.



                                                  33
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 34 of 48




       119.    Fried also carried papers that said they were a volunteer with New York City’s Jail

Support team and specified that since they were an essential medical worker, they were exempt

from the curfew. They also carried their hospital identification card identifying them as a nurse.

       120.    Fried and other protesters gathered at the starting point for the protest in the Bronx,

near a building known as the Hub. As protesters gave speeches and chanted things like, “No

Justice! No peace!” and “Black Lives Matter!” Fried noticed a large police presence. Almost all

the protesters, including Fried, wore masks, but very few, if any, police officers wore masks.

       121.    At around 7:00 p.m., the crowd began marching, and a line of police officers

followed behind. At around 7:30 p.m., Fried noticed many police officers wearing full body armor

and riding their bicycles around the protesters. When the march turned down a side street, the

police penned in the marchers on the front, right, and left sides. Fried was at the very back of the

march and saw the police close in the march from the rear, pressing Fried and other protesters into

one another and penning them in on all four sides.

       122.    Fried and other marchers were tightly penned in — kettled — by the police and had

no way to get out. People started begging the police to let them out so they could go home, but the

police did not allow them to do so.

       123.    Shortly before 8:00 p.m., Fried saw the police place a speaker right in front of them

and heard it play a recording about the curfew starting. Fried did not hear an order to disperse and

had no ability to do so. Meanwhile, police officers continued to ignore protesters’ requests to leave.

       124.    Around 8:00 p.m., the NYPD officers in the rear of the march charged into the

crowd and immediately started beating people with batons. A police officer named Officer Doe

Rivera (Tax Registration No. 922858, 40th Precinct, Command Code: 138) violently shoved Fried

to the ground, pinned them down, and forcefully pulled their hands behind their back and put them




                                                 34
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 35 of 48




in zip tie handcuffs. Even though they were clearly wearing a medic shirt and clear backpack with

a large red cross, they had no opportunity to explain that they were a medic or to show anyone

their medic papers and hospital identification.

       125.    While they were down on the ground, they heard protesters screaming. Officer

Rivera pulled Fried to their feet. They saw officers beating people with batons and shoving bikes

into protesters. They saw many people crying with swollen eyes and bleeding. They saw a lot of

people with injuries, including one protestor with a serious, bleeding head wound that badly

needed to be cleaned. Fried begged repeatedly for Officer Rivera to remove their zip tie cuffs so

they could administer first aid. He refused.

       126.    Fried noticed that almost all of the other medics at the protest were also in

handcuffs, and therefore unable to administer any first aid to the injured protesters. While Fried

looked on helplessly, Officer Rivera acknowledged the smell of chemical irritant in the air.

       127.    Later Officer Rivera took Fried to a police van. Before loading them into the van,

still handcuffed, police officers took Fried’s picture and confiscated their fanny pack and their

backpack with medical supplies. The police officers repeatedly referred to Fried and other

protesters as “bodies,” which felt very dehumanizing.

       128.    It was extremely hot and crowded inside the police van. Fried tried to help calm a

person who started to have a panic attack. Fried was brought to a police precinct in Queens. They

were first put in a small cell and were then moved to a larger cell with more people in it. The floors

of that cell were disgusting, covered in some places with a dried, sticky brown liquid. There was

only one toilet for many people and not enough places to sit, so most people sat on the floor. It

was impossible to socially distance in either of the cells.

       129.    Fried observed that the police processed and released the white protesters faster




                                                  35
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 36 of 48




than the protesters of color. Fried was the first person to be released from their cell, although they

were not the first person in their group loaded off the van, nor the first person processed for arrest,

nor the first person moved from the small cell to the large cell.

       130.    They were released late that night after a police officer gave them two Criminal

Court Appearance Tickets. The first charged them with Disorderly Conduct, N.Y. Penal Law §

240.20(6). The second Criminal Court Appearance Ticket charged them with a Curfew Violation,

§ 3-108 of the N.Y.C. Administrative Code. Fried later received a letter from the Bronx County

Supreme Court informing them that both the Disorderly Conduct charge and the Curfew Violation

charge from June 4, 2020 were “dismissed on September 4, 2020” and were “sealed pursuant to

Section 160.50 CPL.”

       131.    On June 28, 2020, Fried attended the Queer Liberation March in Washington

Square Park in Manhattan to act as a protest medic. In the late afternoon, the protesters peacefully

gathered by the Washington Square Park Arch, singing, dancing and celebrating Pride.

       132.    At around 4:15 p.m., Fried suddenly noticed a large number of police charging

towards the crowd. Fried saw that someone had been directly pepper-sprayed in the face, so

stopped to treat them.

       133.    Fried saw the police push people in the crowd, knocking some down to the ground,

and noticed a police van in the middle of the crowd. At or around 4:30 p.m., they saw protesters

who seemed to need medical care near the van. They then saw another line of cops with their

batons raised approaching the crowd.

       134.    Then, without provocation, the line of police charged at the crowd, beating and

shoving protesters with batons. Protesters were unable to move out of their way. Fried saw a

protestor shoved to the ground by police and helped them get to the sidewalk.




                                                  36
         Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 37 of 48




       135.    The protesters were almost all wearing masks, but few if any of the police officers

were in masks. Fried saw one particular police officer with no mask screaming at protesters and

saw his spittle flying all over protesters. Another NYPD officer (Officer John Doe 124) then

violently shoved Fried from the side, forcefully knocking them into other protesters.

       136.    The crowd chanted for the NYPD to go home. The cops again rushed through the

crowd, beating people with batons, and pulling and pushing people to the ground without regard

to the protesters’ conduct. Fried observed numerous protesters with swollen and red eyes who had

been pepper-sprayed.

       137.    Fried treated two people with bruising on their legs from batons. They spoke with

many protesters who were in shock and traumatized by the police attacking them while they were

celebrating Pride.

                                   Plaintiff Micaela Martinez

       138.    On June 4, 2020, Plaintiff Micaela Martinez attended the protest march in Mott

Haven. She was aware of the Mayor’s curfew and intended to march, leave the protest before the

curfew, and then return to her home nearby. Instead, the police formed kettle lines around the

protesters as many of them held batons, confining her before the curfew began and preventing her

from complying with the curfew as she had planned.

       139.    As the officers closed in on the protesters, they pushed Martinez and other people

in the crowd against each other in such a tight manner that Martinez found it difficult to breathe.

She witnessed others in the crowd panic and request to leave. She tried to leave, repeatedly asking

officers to let her leave the protest to go home before the curfew. The NYPD officers refused.

During this time, Martinez and other protesters chanted, “Let us go!” At no time did Martinez did

hear an order to disperse and she was not allowed to disperse.




                                                37
         Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 38 of 48




       140.       Around 8:00 pm, without provocation, NYPD officers began beating protesters

with their batons and pepper spraying individuals in the face. Martinez witnessed at least four

NYPD officers strike multiple people, who were posing no threat, in the head and body with clubs.

Without provocation, two NYPD officers stood on top of a civilian’s parked car while striking

downward on protesters’ heads and clubbing anyone within their reach, even people with their

backs turned to them.

       141.       Further, Martinez saw an NYPD officer tackle and beat a Latinx man forcefully

with a baton while his girlfriend screamed, “They are going to kill him!” The woman tried to push

past Martinez, but the kettling was so tight that Martinez had no way to physically move her body

to let the woman run away. Martinez tried to reassure the woman and said, “It will be okay.” The

woman replied, “No it's not. They are going to kill me too.”

       142.       Martinez looked for identifying information on the badges of officers she saw

beating protesters, but the officers had obstructed their badges with black bands.

       143.       With no provocation, a white male officer (Officer John Doe 25) grabbed Martinez

by the arm and pulled her out of the crowd once the police started violently arresting protesters. A

female officer (Officer Jane Doe 2) then tightly zip tied Martinez’s hands together and to her

backpack, putting extra weight and strain on her wrists. Shortly after securing the zip ties on

Martinez’s wrists, she tightened them even further. The zip ties were so tight that they caused

significant swelling, numbing, bruising, discomfort, and lingering pain in her wrists and hands.

After Martinez’s repeated requests to loosen her zip ties, several officers who inspected them

agreed they were much too tight. However, no officer removed them, leaving her to languish in

pain for hours.

       144.       Officer Jane Doe 2 instructed Martinez to wait in the middle of the street. She did




                                                  38
         Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 39 of 48




until she was arrested by a white male officer with a nickname “Ducky” (Officer John Doe 26).

Martinez made repeated requests to loosen her zip ties and officers who inspected them

acknowledged they were too tight. Officer John Doe 26 said multiple times to other officers that

Martinez’s zip ties were overly tight and needed to be removed.

       145.    Martinez’s arresting officer walked her to the NYPD bus, where an officer finally

removed the overly tight handcuffs and put on looser zip tie handcuffs. For a few days after the

protest, Martinez experienced soreness in her wrists. The NYPD detained her for approximately

two hours before taking her to Central Booking in Queens.

       146.    Inside the precinct, the NYPD lined up Martinez with seven other women of color

along a wall and made them wait a long time before processing them. While waiting, one white-

shirted NYPD officer, standing approximately two to four feet from Martinez and the other women

made light of their concerns about the coronavirus and intentionally coughed in their direction.

       147.    Martinez observed that the NYPD processed white women faster than women of

color. Officers first took Martinez to a holding cell and then moved her to another cell, where the

conditions were unsanitary with a bench, a rusty and broken toilet with no water in it, and a rusty

and broken sink. The toilet had blood and feces on it and below it on the floor. In the second cell,

Martinez had to sit on the cold cement floor the entire time because there was not enough room

for everyone to sit on the bench.

       148.    The NYPD finally released Martinez at approximately 2:45am with a summons.

On September 4, 2020, the Criminal Court of the City of New York, Bronx County dismissed the

case and sealed it, pursuant to Section 160.50 of New York’s Criminal Procedure Law.




                                                39
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 40 of 48




                                      Plaintiff Julian Phillips

       149.    On June 4, 2020, Plaintiff Julian Phillips joined the march through Mott Haven as

the crowd was already progressing through the neighborhood. As with Plaintiffs Fried and

Martinez, he found himself kettled in a large crowd of people, surrounded by so many police

officers that they appeared to outnumber the protesters. Shortly after the officers established the

kettle, Phillips saw an officer yell at a young woman to get on the ground and begin to punch her

in the stomach. Phillips took out his camera to record the violence and yelled at the officer to stop,

which the officer did. He thought about trying to leave, but did not want to abandon the group he

was with and felt safer with the crowd than on his own.

       150.    As the curfew approached, Phillips was very close to the line of officers

surrounding the crowd and heard police play an audio tape informing the protesters they were in

violation of the Mayor’s curfew. But he heard it so faintly that he was sure most people, who were

not as close as him, could not hear it. The crowd began to chant “let us go” and yelling at officers

that they were not being allowed to disperse. Phillips realized he could not leave even if he tried.

       151.    As 8:00 pm approached, Phillips made eye contact with an officer in a white shirt

who smiled smugly at him and pointed to his watch. Shortly after that moment, officers charged

the crowd. Phillips saw officers throwing people to the ground in front of him and firing pepper

spray indiscriminately. The air was so thick with pepper spray he could feel it entering is eyes and

mouth, causing him pain. He saw one officer using a riot shield as a battering ram to slam people

to the ground, as other officers following with restraints. Suddenly, he was pushed to the ground

by other people’s bodies who were being pushed on top of him by the police.

       152.    While he was pinned down underneath other bodies, Phillips had trouble breathing.

He shouted “I’m being crushed” and “I can’t breathe.” Afraid he might suffocate like George




                                                 40
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 41 of 48




Floyd, he was terrified for his life and worried he would break a promise he made to his sister to

not get himself killed during the protests. After several minutes, he felt the other bodies pulled off

of him and a police officer yanked him up off his back only to immediately shove him back down

to the ground on his stomach. He was then pinned to the ground by two or three police officers,

who dug their knees into his back, shoulders and legs, yanking his hands behind his back. (Officers

John Doe 27-29). While he was on the ground, one of the officers purposefully kneed him in the

head multiple times, yelling at him to “stop resisting” even though he was not resisting in any

manner. Eventually officers placed handcuffs on him and pulled him up off the ground. His mask

had been ripped off during the melee, and no officer offered him a replacement. None of the

officers involved were wearing masks.

       153.    Phillips’ handcuffs were put on very tightly, causing significant pain. Eventually,

other officers came around and agreed to loosen his cuffs. Phillips saw many other protesters in

handcuffs in significant pain, and many who had lost their masks or had masks on improperly and

could not adjust them because of the handcuffs.

       154.    Phillips was taken to the 41st Precinct and held until 1:30 a.m., when we was

released with a summons for violating the Mayor’s curfew. The district attorney declined to

prosecute.

       155.    Phillips had abrasions from his injuries and experienced ongoing pain for several

hours from the pepper spray that permeated his clothes. Since this incident he has occasionally had

difficulty breathing.

                                      Plaintiff Nicolas Mulder

       156.    On the evening of June 4, 2020 at around 9:00pm, Plaintiff Nicholas Mulder

attended a protest in Williamsburg, Brooklyn to assist his wife, a journalist, who was filming and




                                                 41
            Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 42 of 48




reporting on the protest. As the marchers approached the intersection of Penn Street and Whythe

Street, dozens of NYPD officers blocked the road and brought the march to an end. As the crowd

began to disperse, the officers suddenly charged them – some with batons in their hands, attacking

several people from behind.

           157.   As Mulder began to film the violence from a safe distance, an NYPD officer in a

white shirt (Officer John Doe 30) shoved him against a police car and then tackled him from

behind. The officer landed on Mulder’s knee with the full weight of the officer on top of him.

Mulder stated repeatedly that he was working with the press. While he was on the ground, another

NYPD officer (Officer John Doe 31) hit Mulder with a baton on his head, causing his head to

bleed, and then put his full weight on Mulder while a third officer (Officer John Doe 32) restrained

him in plastic handcuffs so tightly that it caused pain in his hands. As Mulder lay on the ground,

he repeatedly told the officers that he was in pain. However, the officers ignored him and did not

offer or provide any medical attention. It was not until the next day after his arrest that Mulder

obtained medical attention for the injuries he incurred as a result of the police violence at the

protest.

           158.   While he was restrained in plastic handcuffs, Mulder saw officers continue to

assault protesters despite their peaceful conduct. He witnessed multiple unidentified officers tackle

his wife to the ground after speaking with, and receiving, her crew’s film equipment from another

officer. Mulder saw an arrestee with multiple head contusions who needed medical attention, but

the unidentified officers did not assist this injured man. He also saw a man splayed out on the

ground, intertwined with his bicycle while his head was bleeding profusely, and unidentified

NYPD officers declined to provide medical assistance to this man.

           159.   Sometime after Officer John Doe 32 zip-tied Mulder, Mulder was then transferred




                                                 42
         Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 43 of 48




to his arresting officer — Officer Doe Husbands. Officer Doe Husbands put Mulder on an NYPD

bus that transport him and others to central booking in Brooklyn. On that bus, Mulder witnessed

several people in severe pain from overly tight handcuffs on the NYPD bus that transported them

to central booking in Brooklyn. One man was screaming in pain and begging for medical

assistance as his hands took on a sickly blue-green color due to the extreme tightening of the zip

ties.

        160.   After Mulder’s arrest for violating the Mayor’s curfew, the NYPD detained Mulder

for several hours and eventually released him at about 1:45am on June 5, 2020.

        161.   On October 5, 2020, the Criminal Court of the City of New York, Kings County,

dismissed Mr. Mulder’s summons.

                             Plaintiff Colleen McCormack-Maitland

        162.   On June 28, 2020, Plaintiff Colleen McCormack-Maitland attended the Queer

Liberation March. The march was very peaceful, and people were dancing to music upon arriving

at Washington Square Park, where the march terminated.

        163.   As she stood in the park, McCormack-Maitland saw a dozen or more officers on

mopeds driving recklessly through protesters arriving in the park from Washington Square Park

North. She saw Sergeant Doe Manning screaming, without wearing a face mask or covering, at a

protester to “Get the fuck away” as he and other officers, including Sergeant Doe Caraballo, began

to shove other protesters and onlookers back toward where McCormack-Maitland was standing,

trapping her between an ice cream truck and other people’s bodies, unable to disperse. Sergeant

Caraballo then sprayed a stream of pepper spray at McCormack-Maitland and the other bystanders.

As she felt her eyes sting and begin to burn, Sergeant Caraballo pepper-sprayed the crowd again.




                                               43
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 44 of 48




Eventually, she was able to retreat further into Washington Square Park where she washed her

eyes and face with water.

                    The NYPD Has a Practice of Using Excessive Force and
                     Retaliating Against Protesters Without Justification

       164.    Plaintiffs have been injured proximately and directly by the Defendants, including

being subjected to excessive force, false arrest, excessive detention and infringement on their rights

to free speech, expression, and assembly.

       165.    Defendants subjected protesters, including the Plaintiffs, to false arrests, excessive

detention, and excessive force in retaliation for and on account of their participation in and or

presence at protests against police violence and abuse, and in support of Black Lives Matter after

the killing of George Floyd.

       166.    The City of New York, Mayor de Blasio, Commissioner Shea, and Chief of

Department Monahan have enforced, promoted, authorized, and sanctioned the NYPD’s custom

and practice of using excessive force when policing protests, including the unprovoked or

unjustified use of pepper spray, baton or fist strikes, and excessively tight handcuffs.

       167.    The City of New York, Mayor de Blasio, Commission Shea, and Chief of

Department Monahan have enforced, promoted, authorized, and sanctioned the NYPD’s custom

and practice of using kettling – or penning – of protesters exercising protected First Amendment

rights without adequate notice or opportunity to disperse.

       168.    Defendant City of New York has inadequately trained, supervised, and disciplined

NYPD officers with respect to its officers’ use of kettling, fist and baton strikes, zip tie handcuffs,

pepper spray at large protest events, as well as with respect to officers’ wearing of masks during

the coronavirus pandemic.




                                                  44
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 45 of 48




        169.    Defendant City of New York has repeatedly had notice that NYPD training and

officer supervision were inadequate and likely to result in constitutional violations based on

multiple incidents of excessive force, false arrest and other misconduct against protesters at large

protest events dating back to at least 1999.

        170.    The NYPD continues to employ, promote, and even give additional responsibility

to NYPD officers with a known history of abusive behavior towards protesters.

        171.    Defendant City of New York, through Mayor de Blasio, Commissioner Shea, and

Chief of Department Monahan, ratified the unsafe and unconstitutional treatment of protesters by

their knowledge of, participation in, and/or deliberate indifference to such actions, as well as the

failure to discipline or hold misbehaving officers accountable.

        172.     In these failures, Defendant City of New York, through Mayor de Blasio,

Commissioner Shea, and Chief Monahan, has been deliberately indifferent to the rights of

protesters and these failures and policies are the moving force behind, and direct and proximate

cause of, the constitutional violations suffered by Plaintiffs as alleged herein.

        173.    As a direct result of the Defendant City of New York’s failures and policies as

described herein, Plaintiffs suffered damages, including physical injury, emotional distress, fear,

apprehension, and concern for Plaintiffs’ own safety.

        174.    In many of the protests cited above, officers covered their badge numbers, making

it difficult for protesters, including the Plaintiffs, to identify individual officers involved in the

unconstitutional and unlawful acts alleged herein.

        175.    The City of New York, the Mayor, Commissioner Shea and Chief Monahan were

aware that officers involved in policing the protests covered their badge numbers, and failed to

take action to stop it.




                                                  45
          Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 46 of 48




        176.   Plaintiffs demand a trial by jury in this action.

                                 JURISDICTION AND VENUE

        177.   This Court has subject-matter jurisdiction over Plaintiffs’ claims pursuant to 28

U.S.C. §§ 1331, 1343(a)(3)–(4).

        178.   Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to Plaintiffs’ claims occurred in this district.

                                   FIRST CAUSE OF ACTION

        179.   Defendants’ actions toward Plaintiffs constitute excessive force in violation of the

Fourth Amendment to the United States Constitution and 42 U.S.C. § 1983.

                                 SECOND CAUSE OF ACTION

        180.   Defendants’ actions toward Plaintiffs constitute excessive force in violation of

Article I, section 12 of the New York State Constitution.

                                  THIRD CAUSE OF ACTION

        181.   Defendants’ actions violate Plaintiffs’ rights to speech, expression, and to

assemble in violation of the First Amendment to the United States Constitution and 42 U.S.C. §

1983.

                                 FOURTH CAUSE OF ACTION

        182.   Defendants’ actions violate Plaintiffs’ rights to speech, expression and to assemble

under Article I, section 8 of the New York State Constitution.

                                   FIFTH CAUSE OF ACTION

        183.   Defendants’ arrest and detention of Plaintiffs Andie Mali, Camila Gini, Vivian

Matthew King-Yarde, Jarrett Payne, Charlie Monlouis-Anderle, Jaime Fried, Micaela Martinez,

Julian Phillips, and Nicholas Mulder violate the Fourth Amendment to the United States




                                                  46
         Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 47 of 48




Constitution and 42 U.S.C. § 1983.

                                 SIXTH CAUSE OF ACTION

       184.     Defendants’ arrest and detention of Plaintiffs Andie Mali, Camila Gini, Vivian

Matthew King-Yarde, Jarrett Payne, Charlie Monlouis-Anderle, Jaime Fried, Micaela Martinez,

Julian Phillips, and Nicholas Mulder violate of Article I, section 12 of the New York State

Constitution.

                                     PRAYER FOR RELIEF

WHEREFORE, plaintiffs request that this Court:

(a)    Assume jurisdiction over this matter;

(b)    Declare that Defendants’ actions violate the First and Fourth Amendments to the United

       States Constitution and their state law counterparts;

(c)    Award Plaintiffs compensatory and punitive damages;

(d)    Award Plaintiffs attorneys’ fees and costs; and

(e)    Grant any other relief the Court deems appropriate.


                                               Respectfully submitted,




                                                 47
         Case 1:20-cv-08924-CM Document 1 Filed 10/26/20 Page 48 of 48




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Dated: October 26, 2020
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*Application for admission forthcoming




                                               48
